






NO. 07-05-0362-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 10, 2006


______________________________



VINCE ARTHUR HALL,



									Appellant


v.



THE STATE OF TEXAS,



									Appellee

_________________________________



FROM THE 320th DISTRICT COURT OF POTTER COUNTY;



NO. 49,685-D; HON. DON EMERSON, PRESIDING


_______________________________



ORDER OF DISMISSAL


_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

	Appellant, Vince Arthur Hall, appeals from an order revoking his community
supervision.  The record does not contain a certification of his right to appeal as required
by Texas Rule of Appellate Procedure 25.2(d).  Through letter dated November 30, 2005,
this court notified the trial court, the district clerk, the district attorney and appellant's
attorney of this omission and the need for the certification.  To date, the certification has
yet to be filed.  Consequently, we dismiss the appeal.  See Tex. R. App. P. 25.2(d)
(requiring that the appeal be dismissed if a certification that shows that the defendant has
a right to appeal has not been made part of the record).

	Accordingly, the appeal is dismissed, and the pending motion for leave to extend
the appellant's briefing deadline is denied as moot.


							Per Curiam


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ruck each
step.  

	An attempt was made to move Pool to a lake house at Lake Meredith that belonged
to a relative of another associate of Craig Kimberlin.  This proved unsuccessful and
eventually the Lincoln Navigator, with Pool inside, ended up in the garage of the home of
another Kimberlin associate in Amarillo.  Destry Keeling, another associate of Kimberlin, 
provided a location to bury the body at an abandoned grain elevator in Randall County,
Texas.  Pool's body was placed in the bottom of the grain elevator head first and
approximately four feet of concrete was placed on top of the body.  The burial was
completed on March 12, 2003.  The body was buried in a manner that the top of the head
touched the dirt beneath the concrete.  The body was not recovered until June 15, 2003. 

	During appellant's trial, the State introduced the testimony of Sriphar Natarajan,
M.D., the forensic pathologist that performed the autopsy on Dustin Pool.  Dr. Natarajan
opined that Pool died from either asphyxia or blunt force trauma to the head and that each
were fatal to Pool.  Dr. Natarajan further testified that the asphyxia alone could have
caused the death of Pool.   Because of the way the body was wrapped in a plastic tarp
prior to burial and the head was encased in duct tape, there was a minimal amount of
decomposition of the body, with the greatest amount being on the top part of the head.  

	The appellant produced testimony from Robert Bux, M.D., medical examiner from
Colorado Springs, Colorado.  Dr. Bux took issue with some of the protocols used by Dr.
Natarajan and some of the conclusions arrived at by Dr. Natarajan.  Most significantly, Dr.
Bux disagreed with Dr. Natarajan regarding the cause of death.  Specifically, Dr. Bux found
the existence of insect larvae on the sock to be of significance in determining the time of
death.  Dr. Bux's conclusion was based primarily on the opinion testimony of appellant's
witness, Dr. Neal Haskell, a forensic entomologist.  Dr. Haskell opined that the significance
of the larvae found on the sock was that it meant that Pool was not alive when the sock
was placed in his mouth.  Haskell further stated that Pool would have to have been dead
for between five and twelve days for the sock to contain the types of larvae that he found
on it.  Thus, Dr. Haskell concluded that Pool could not have died as a result of asphyxia. 

Standard of Review


	When reviewing challenges to both the legal and factual sufficiency of the evidence
to support the verdict, we first review the legal sufficiency challenge.  See Clewis v. State,
922 S.W.2d 126, 133 (Tex.Crim.App. 1996).  If the evidence is legally sufficient to support
the verdict, we then review the factual sufficiency challenge.  See id.

Legal Sufficiency

	In reviewing the legal sufficiency of the evidence, we review all the evidence in the
light most favorable to the verdict to determine whether any rational trier of fact could have
found the essential elements of the offense beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Ross v. State, 133
S.W.3d 618, 620 (Tex.Crim.App. 2004).  The jury is the sole judge of the weight and
credibility of the evidence.  Jackson, 443 U.S. at 319. 

Factual Sufficiency	

	When an appellant challenges the factual sufficiency of the evidence supporting his
conviction, the reviewing court must determine whether, considering all the evidence in a
neutral light, the jury was rationally justified in finding the appellant guilty beyond a
reasonable doubt.  See Watson v. State, 204 S.W.3d 404, 415 (Tex.Crim.App. 2006).  In
performing a factual sufficiency review, we are to give deference to the fact finder's
determinations and may not order a new trial simply because we may disagree with the
verdict.  See id. at 417.  As an appellate court, we are not justified in ordering a new trial
unless there is some objective basis in the record demonstrating that the great weight and
preponderance of the evidence contradicts the jury's verdict.  See id.  Additionally, an
appellate opinion addressing factual sufficiency must include a discussion of the most
important evidence that appellant claims undermines the jury's verdict.  Sims v. State, 99
S.W.3d 600, 603 (Tex.Crim.App. 2003).

		Analysis


	As pertinent to this case, a person commits the offense of capital murder when he
commits murder in the course of committing or attempting to commit kidnapping.  See Tex.
Pen. Code Ann. § 19.03(a)(2) (Vernon Supp. 2005).  A person commits murder if he
intentionally and knowingly causes the death of an individual.  See Tex. Pen. Code Ann.
§ 19.02(b)(1) (Vernon Supp. 2005).  A person commits kidnapping if he intentionally or
knowingly abducts another person.  See Tex. Pen. Code Ann. § 20.03(a) (Vernon Supp.
2005).  

	The indictment against appellant alleged, in pertinent part, that, "Joshua Stocker,
. . . on or about the 9th day of March A.D. 2003, . . . did then and there, in the course of
committing or attempting to commit kidnaping of Dustin Pool, intentionally commit murder
by intentionally causing the death of an individual, to wit, Dustin Pool, by suffocating Dustin
Pool by putting a sock into the throat of Dustin Pool and covering Dustin Pool's mouth with
tape. . . ."  Because of the manner of the allegation on cause of death, appellant contends
that the testimony of Dr. Natarajan is legally insufficient to prove that he committed the
charged offense.  Appellant posits that (1) Dr. Natarajan testified that the cause of Pool's
death was blunt force trauma and asphyxia, therefore, the evidence is legally insufficient
to prove that asphyxia caused the death of Pool, as alleged in the indictment, and (2) the
testimony of Dr. Haskell demonstrates that the cause of death could not have been
asphyxia. 

	However, when the evidence is reviewed in the light most favorable to the verdict,
as required in a legal sufficiency review, Jackson, 443 U.S. at 319, the following becomes
clear:  (1) the jury heard the testimony regarding the kidnapping, beating, and suffocation
of Pool; (2) the jury further heard the testimony of Dr. Natarajan regarding the cause of
death; (3) Dr. Natarajan positively stated that placing the sock in the mouth of Pool and
taping the mouth and nose area with duct tape would lead to suffocation; and (4) the
testimony of the other members of the organization about the reaction of Pool after the
sock was placed in his mouth and the taping of his head further confirms that he died by
asphyxia.  The jury was free to accept or reject this testimony and we give great deference
to their fact finding.  Adelman v. State, 828 S.W.2d 418, 421 (Tex.Crim.App. 1992).  We
may not sit as a thirteenth juror and disregard, realign, or weigh the evidence.  Moreno v.
State, 755 S.W.2d 866, 867 (Tex.Crim.App. 1988).  Based upon our review of the
evidence, we cannot say that the jury was irrational in returning a verdict of guilty. 
Jackson, 443 U.S. at 319.  Therefore, we overrule appellant's contention that the evidence
was legally insufficient.

	Having found that the evidence was legally sufficient, we now address appellant's
contention that the evidence was factually insufficient.  The jury heard the detailed
testimony regarding the luring of Pool to Tori Patrick's apartment.  The jury heard very
detailed testimony about the events following the abduction from several members of the
meth distribution organization.  They also heard the testimony of Dr. Natarajan regarding
the onset of morbidity and when stiffness would disappear and the corresponding
testimony of Destry Keeling regarding the stiffness of the body when it was dumped into
the grave site.  The jury also received evidence of Pool's DNA being found in the
apartment and at the Elliston farm.  Additionally, the location of the body, the manner in
which it was wrapped in a tarp while the head was wrapped in duct tape, and the burial
beneath the concrete all confirmed the testimony of the members of the meth distribution
organization.  The discovery of the implements used to mix the concrete and the barrel
used to carry the water to the burial site further confirm the testimony of the participants. 
Lastly, the appellant made oral statements to a number of participants and strangers
detailing his participation in the abduction and murder of Pool.  Most, if not all, of the details
of his statements were confirmed by physical evidence.  After reviewing all of the evidence
in a neutral light, we cannot say that the jury was not rationally justified in finding the
appellant guilty beyond a reasonable doubt.  Watson, 204 S.W.3d at 415.  We cannot point
to any objective basis in the record for concluding that the great weight and preponderance
of the evidence contradicts the jury's verdict.  Id. at 417.

	Appellant points to the testimony of Dr. Bux and Dr. Haskell to demonstrate that the 
jury's verdict was contradicted by the great weight and preponderance of the evidence. 
Dr. Bux disagreed with Dr. Natarajan, the examining pathologist, regarding the time of
death.  When the testimony of Dr. Bux is examined closely, it becomes apparent that the
disagreement with Dr. Natarajan has to do with the failure of Dr. Natarajan to collect
entomological samples.  This becomes important only because of the testimony of Dr.
Haskell.  Dr. Haskell, a forensic entomologist, opined that, from the samples of insects he
collected from the sock that came from Pool's mouth, Pool had to be dead for five to twelve
days before the sock was placed in his mouth.  From this calculation, appellant then
contends that the testimony of Dr. Natarajan regarding cause of death must be wrong and
therefore, contrary to the indictment, Pool did not die from asphyxia caused by the sock
and tape.  

	However, Dr. Haskell admitted that, when he prepared his findings, he did not
review the statements of any other witness.  His conclusion disregards the testimony of the
eyewitnesses about the events leading up to the burial of Pool under four feet of concrete,
most significantly that Pool stopped struggling within minutes of appellant re-taping Pool's
head in a manner that prevented him from breathing.  Likewise, Dr. Haskell could not opine
where the sock was prior to being placed in the mouth of Pool, nor could he discount the
possibility that insects could have entered the body through the head, since the top of the
head was open and buried in the dirt.  

	The jury heard the testimony of Dr. Bux and Dr. Haskell.  By their verdict, the jury
discounted the testimony and chose to believe that of the participants in the conspiracy
and the physical evidence that corroborated that testimony.  Such is the right of the jury,
for it is the jury that heard the conflicting testimony and viewed the witnesses.  Johnson v.
State, 23 S.W.3d 1, 8 (Tex.Crim.App. 2000).  The jury was in the best position to evaluate
the credibility of the testimony and the weight and value to be given that testimony. 
Marshall v. State, 210 S.W.3d 618, 625 (Tex.Crim.App. 2006).  We give due deference to
the jury's determination.  Johnson, 23 S.W.3d at 9.  We remain convinced that the jury's
verdict was neither irrational nor against the great weight and preponderance of the
evidence.  Accordingly, we find the evidence was factually sufficient to support the verdict.

Conclusion


	Having overruled appellant's contentions regarding the legal and factual sufficiency
of the evidence, we affirm the judgment of the trial court. 


							Mackey K. Hancock

							         Justice


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